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                  sUnited States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                    TEL. 504-310-7700
CLERK                                                         600 S. MAESTRI PLACE,
                                                                      Suite 115
                                                             NEW ORLEANS, LA 70130

                           December 26, 2024
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 24-40792     Texas Top Cop Shop v. Garland
                       USDC No. 4:24-CV-478

Enclosed is an order entered in this case.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk




                                  By: _________________________
                                  Angelique B. Tardie, Deputy Clerk
                                  504-310-7715
Mr. Robert Alt
Mr. Brett Christopher Bartlett
Mr. Grady Block
Mr. Craig William Courtney
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